                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                         2021-NCCOA-38

                                         No. COA19-912

                                       Filed 2 March 2021

     Moore County, No. 15 CVD 1090

     CHERYL HALTERMAN, Plaintiff,

                   v.

     BRADEN HALTERMAN, Defendant.


             Appeal by plaintiff from order entered 27 June 2019 by Judge Warren

     McSweeney in District Court, Moore County. Heard in the Court of Appeals 28 April

     2020.


             Chris Kremer, for plaintiff-appellant.

             Foyles Law Firm, PLLC, by Jody Stuart Foyles, for defendant-appellee.


             STROUD, Chief Judge.


¶1           Mother appeals the trial court’s order granting Father’s Motion under North

     Carolina Rules of Civil Procedure 12(b)(1) and (6) to dismiss her Petition to Register

     a foreign child support order. Because Mother’s Petition to Register was in substance

     and in form a petition to register a foreign custody order under North Carolina

     General Statute § 50A-305, not a petition to register a foreign child support order

     under North Carolina General Statute § 52C-6-602, the trial court did not err by

     granting Father’s Motion to Dismiss.
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                          I.     Procedural and Factual Background

¶2         Mother and Father had two children during their marriage. In 2008, the

     parties were divorced in Broward County, Florida.           In their Florida divorce

     proceedings, the parties entered into a Marital Settlement Agreement which was

     later adopted by the court as a court order. The 2008 Marital Settlement Agreement

     (“2008 Order”) resolved all of the parties’ claims related to their marriage, including

     child custody, child support, alimony, and equitable distribution. In 2009, the Florida

     court entered an “Agreed Final Order on Former Husband’s Supplemental Petition

     for Modification of Final Judgment” (“2009 Order”) which modified Father’s child

     support obligation and provided that “should [Father] become incarcerated in Federal

     Prison, the child support award shall be abated until he has been released.” In 2012,

     the Florida court entered an “Agreed Final Order on the Former Wife’s Supplemental

     Petition to Permit Relocation with Minor Children” (“2012 Order”) which allowed

     Mother to “relocate on a permanent basis” to North Carolina and “defers on the issues

     of child support and timesharing until such time as [Father] is released from

     [incarceration].”

¶3         On 20 August 2015, Father filed a “Complaint, Motion to Register A Foreign

     Order and Motion to Modify Child Custody,” which included a motion to register the

     two Florida orders regarding custody, the 2008 Order and the 2012 Order, in North

     Carolina, and a motion to modify child custody. The motion to modify child custody
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     alleged that Father had been released from incarceration and the parties had been

     unable to agree on a new visitation schedule. The Complaint alleged grounds to

     register the 2008 and 2012 custody orders under the Uniform Child Custody

     Jurisdiction and Enforcement Act (“UCCJEA”).             The Complaint also included

     allegations regarding North Carolina’s modification jurisdiction under the UCCJEA.

     The Complaint alleged that Father is a citizen and resident of the Commonwealth of

     Virginia, while Mother and the children reside in North Carolina.

¶4         Four days later, Mother filed a “Petition to Register Foreign Child Custody and

     Support Order” (“Petition to Register”). The Petition to Register stated it was filed

     under “N.C.G.S. 50A-305(a), petitioning this Court to register a foreign custody

     Order.” Mother’s Petition to Register included all three Florida orders, including the

     2009 Order. The allegations of the Petition to Register track the requirements of

     North Carolina General Statute § 50A-305(a), including that Father was a citizen and

     resident of Virginia; Mother and the children were residents of North Carolina;

     details regarding the Florida orders entered in 2008, 2009, and 2012; and that the

     custody provisions of those orders had not been changed. Certified copies of the

     orders were attached, and her Petition to Register was verified. She requested only

     to register the “attached foreign orders” but did not assert any requests for

     modification or enforcement. Mother also filed a “Notice to Register of Foreign Child

     Custody and Support Orders.” The Notice states that Mother “gives Notice that the
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     Registration of the Foreign Custody Order entered the 14 October 2008, in the County

     of Broward, State of Florida” and cites North Carolina General Statute § 50A-305 as

     statutory authority.     The Notice tracks the statutory language required for

     registration of a foreign child custody order under the UCCJEA.

¶5         On 8 September 2015, Father filed a “Motion to Dismiss [Mother’s] Claim to

     Register the Foreign Child Support Order” (“Motion to Dismiss”). Father moved to

     dismiss the Petition to Register under Rules 12(b)(1) and (6) for lack of subject matter

     jurisdiction and failure to state a cause of action upon which relief may be granted,

     and for failure to meet the requirements of North Carolina General Statute § 52C-6-

     602. Father alleged that he is a resident of Virginia, and he has never resided in

     North Carolina. He alleged that North Carolina General Statute § 52C-6-602(a)

     “requires the registration of a Support Order to be in the county where the obligor

     resides” and the Petition to Register failed to meet other requirements of North

     Carolina General Statute § 52C-6-602.

¶6         On 22 September 2015, the trial court entered an “Order Registering a Foreign

     Child Custody Order” (“Registration Order”).       The Registration Order was entered

     by agreement of the parties and was based upon the UCCJEA. The Registration

     Order finds that the 2012 Order “anticipated the minor children moving to North

     Carolina and releasing jurisdiction to North Carolina” and Mother and minor
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     children had been residing in North Carolina more than six months preceding

     Father’s motion for modification of custody.

¶7         On 18 February 2016, the parties entered into a Child Custody Order by

     consent (“2016 Consent Order”), granting the parties joint custody, with primary

     custody to Mother and setting out a detailed visitation schedule for Father. The 2016

     Consent Order also included a provision that “This Order fully resolves all pending

     matters in Moore County File Numbers: 15 CVD 1078 and 15 CVD 1090.” But the

     trial court did not address Father’s Motion to Dismiss Mother’s claim to register a

     foreign child support order.

¶8         On 2 January 2019, Father filed a motion to activate the case and a Rule 60

     Motion requesting the trial court strike the language in the 2016 Consent Order

     stating that “this resolves all pending issues” in the case, since his Motion to Dismiss

     had not been resolved. Mother did not oppose Father’s Rule 60 Motion and the trial

     court entered an order allowing the motion and striking the language regarding full

     resolution of all claims, as Father’s Motion to Dismiss had never been addressed.

¶9         On 21 May 2019, the trial court heard Father’s Motion to Dismiss. On 27 June

     2019, the trial court entered an order allowing Father’s Motion to Dismiss based upon

     “Rules 12(b)(1) and (6) of the North Carolina Rules of Civil Procedure and NCGS

     52(c)-6-602.” Specifically, the trial court concluded, “The pleading is insufficient to

     register a foreign Child Support Order. This Court lacks subject matter jurisdiction
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       and said petition fails to state a cause of action upon which relief can be granted.”

       Mother timely filed notice of appeal from the 27 June 2019 Order allowing Father’s

       Motion to Dismiss.

                                      II.     Standard of Review

¶ 10         This Court reviews an order allowing a motion to dismiss for lack of subject

       matter jurisdiction and for failure to state a claim upon which relief can be granted

       de novo. Johnson v. Antioch United Holy Church, Inc., 214 N.C. App. 507, 510, 714

       S.E.2d 806, 809 (2011) (noting the standard of review for lack of subject matter

       jurisdiction); Birtha v. Stonemor, N.C., LLC, 220 N.C. App. 286, 291, 727 S.E.2d 1, 6
       (2012) (providing the standard of review for failure to state a claim upon which relief

       can be granted).

                               III.     Registration of Foreign Order

¶ 11         The arguments of both parties conflate the statutory requirements for

       registration of a foreign support order and the jurisdictional issues arising from

       modification or enforcement of a foreign support order. Normally, when a support

       order is registered, the obligee or a child support enforcement agency is seeking to

       enforce the order, or a party is seeking modification of the order. See N.C. Gen. Stat.

       § 52C-6-609. Here, Mother sought only to register the three Florida orders. No issue

       as to modification or enforcement was raised by either party. Father’s Motion to

       Dismiss raised a defense based on the failure of Mother’s Petition to Register to meet
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       the requirements of North Carolina General Statute § 52C-6-602 for registration of a

       foreign support order. Thus, we first address the issue of whether Mother’s Petition

       to Register Foreign Child Custody and Support Order substantially complied with

       North Carolina General Statute § 52C-6-602.

¶ 12         North Carolina General Statute § 52C-6-602 sets out the requirements for

       registration of a foreign support order in North Carolina:

                    (a) Except as otherwise provided in G.S. 52C-7-706, a
                    support order or income-withholding order of another state
                    or a foreign support order may be registered in this State
                    by sending the following records to the appropriate
                    tribunal in this State:
                           (1) A letter of transmittal to the tribunal
                           requesting registration and enforcement;
                           (2) Two copies, including one certified copy, of
                           the order to be registered, including any
                           modification of the order;
                           (3) A sworn statement by the person
                           requesting registration or a certified
                           statement by the custodian of the records
                           showing the amount of any arrearage;
                           (4) The name of the obligor and, if known:
                                  a. The obligor’s address and
                                  social security number;
                                  b. The name and address of the
                                  obligor’s employer and any other
                                  source of income of the obligor;
                                  and
                                  c. A description and the location
                                  of property of the obligor in this
                                  State     not    exempt      from
                                  execution; and
                           (5) Except as otherwise provided in G.S. 52C-3-311,
                           the name and address of the obligee and, if
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                           applicable, the person to whom support payments
                           are to be remitted.
                   (b) On receipt of a request for registration, the registering
                   tribunal shall cause the order to be filed as an order of
                   another state or a foreign support order, together with one
                   copy of the documents and information, regardless of their
                   form.
                   (c) A petition or comparable pleading seeking a remedy
                   that must be affirmatively sought under other law of this
                   State may be filed at the same time as the request for
                   registration or later. The pleading must specify the
                   grounds for the remedy sought.
                   (d) If two or more orders are in effect, the person requesting
                   registration shall do each of the following:
                           (1) Furnish to the tribunal a copy of every
                           support order asserted to be in effect in
                           addition to the documents specified in this
                           section.
                           (2) Specify the order alleged to be the
                           controlling order, if any.
                           (3) Specify the amount of consolidated
                           arrears, if any.
                   (e) A request for a determination of which is the controlling
                   order may be filed separately or with a request for
                   registration and enforcement or for registration and
                   modification. The person requesting registration shall give
                   notice of the request to each party whose rights may be
                   affected by the determination.

       N.C. Gen. Stat. § 52C-6-602 (2019).

¶ 13         Here, the Petition to Register was filed directly by Mother and was not

       initiated by the Florida court. Direct registration is allowed under North Carolina

       General Statute § 52C-3-301:

                   An individual petitioner or a support enforcement agency
                   may initiate a proceeding authorized under this Chapter
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                     by filing a petition in an initiating tribunal for forwarding
                     to a responding tribunal or by filing a petition or a
                     comparable pleading directly in a tribunal of another state
                     or a foreign country which has or can obtain personal
                     jurisdiction over the respondent.

       N.C. Gen. Stat. § 52C-3-301(c) (2019). North Carolina General Statute § 52C-6-605

       also requires that the “nonregistering party,” here Father, be notified of the

       registration and of his right to contest it:

                     (a) When a support order or income-withholding order
                     issued in another state or a foreign support order is
                     registered, the registering tribunal of this State shall
                     notify the nonregistering party. The notice must be
                     accompanied by a copy of the registered order and the
                     documents and relevant information accompanying the
                     order.
                     (b) A notice must inform the nonregistering party:
                         (1) That a registered order is enforceable as of the
                             date of registration in the same manner as an
                             order issued by a tribunal of this State.
                         (2) That a hearing to contest the validity or
                             enforcement of the registered order must be
                             requested within 20 days after notice, unless
                             the registered order is under G.S. 52C-7-707;
                         (3) That failure to contest the validity or
                             enforcement of the registered order in a
                             timely manner will result in confirmation of
                             the order and enforcement of the order and
                             the alleged arrearages; and
                         (4) Of the amount of any alleged arrearages.

       N.C. Gen. Stat. § 52C-6-605 (2019) (emphasis added).

¶ 14          Mother does not attempt to argue that her Petition to Register, which was in

       both form and substance a petition for registration of a child custody order under the
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       UCCJEA, was fully compliant with the requirements of North Carolina General

       Statute § 52C-6-602. Nor was Father provided with the notice required by North

       Carolina General Statute § 52C-6-605. Mother contends that “a fair examination” of

       the Petition to Register “under the Twaddell substantial compliance standard”

       supports her argument that she met the requirements of North Carolina General

       Statute § 52C-6-602 to register the Florida orders as child support orders.

¶ 15         In Twaddell v. Anderson, the mother resided in California and sought to

       enforce a California child support order against the father, who resided in North

       Carolina.   136 N.C. App. 56, 58, 523 S.E.2d 710, 713 (1999).        After a complex

       procedural history of the mother’s efforts to enforce the order in North Carolina

       through the child support enforcement agency, the father was held in contempt for

       non-payment, and he challenged the registration of the California order based upon

       technical deficiencies in the information transmitted from California. Id. at 58-59,

       523 S.E.2d at 713. The trial court granted his motion to dismiss, and this Court

       reversed, finding substantial compliance with the requirements for registration of the

       California order under North Carolina General Statute § 52C-6-602:

                           Plaintiff contends she was in substantial compliance
                    with the statute. The provisions in dispute are section
                    52C-6-602(a)(1), which requires that a registration request
                    include a “letter of transmittal to the tribunal requesting
                    registration      and     enforcement,”      and     section
                    52C-6-602(a)(5), which requires that the registration
                    request include the “name and address of the obligee and,
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                    if applicable, the agency or person to whom support
                    payments are to be remitted.” The record indicates that
                    plaintiff submitted a “Registration Statement,” which
                    contained the case number, date, and county of the
                    California order; the parties to the action and their
                    respective addresses and employers; and the support
                    amount, date of last payment, and total amount of arrears.
                    The Statement was signed by the Records Custodian in
                    California and notarized, then forwarded to the Craven
                    County Clerk of Court. We hold that this material is
                    sufficient to satisfy section 52C-6-602(a)(1). Plaintiff’s
                    packet also included the name and address of the
                    California agency to which support payments were to be
                    remitted. Although this information may be found only
                    upon a close reading of plaintiff’s submitted material, we
                    hold that plaintiff also substantially complied with section
                    52C-6-602(a)(5). Accordingly, the trial court erred in
                    finding that plaintiff had not met the registration
                    requirements of UIFSA.

       Id. at 60, 523 S.E.2d at 714.

¶ 16         But a “fair examination” of Mother’s Petition to Register here reveals that it is

       both in substance and in form a petition to register a foreign custody order under

       North Carolina General Statute § 50A-305, not a petition to register a foreign child

       support order under North Carolina General Statute § 52C-6-602. The requirements

       of these two statutes differ, and for the orders to be registered under the Uniform

       Interstate Family Support Act (“UIFSA”), the petition must at least substantially

       comply with North Carolina General Statute § 52C-6-602.          Mother’s Petition to

       Register did not request “registration and enforcement” or contain “[a] sworn

       statement by the person requesting registration or a certified statement by the
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       custodian of the records showing the amount of any arrearage[.]” N.C. Gen. Stat. §

       52C-6-602(a)(1), (3). Therefore, the trial court did not err by granting Father’s Motion

       to Dismiss for failing to state a claim upon which relief can be granted.

                                 IV.     Subject Matter Jurisdiction

¶ 17          Mother also argues that Father submitted to the jurisdiction of the North

       Carolina court by filing his own petition to register the 2008 Order and the 2012

       Order, which included provisions regarding both child custody and support. She

       contends Father made a “general appearance” in the action and thus cannot challenge

       jurisdiction.

¶ 18          Here, Mother presents the issue on appeal as personal jurisdiction over Father

       regarding child support enforcement. Father is a citizen and resident of Virginia, and

       Mother does not argue there would be any basis for North Carolina to assert personal

       jurisdiction over him unless he had submitted to the jurisdiction of the court by a

       general appearance. If personal jurisdiction were the issue and Father had made a

       general appearance, Mother would be correct: a general appearance would have

       waived any objection to personal jurisdiction. Lynch v. Lynch, 303 N.C. 367, 373, 279

       S.E.2d 840, 845 (1981) (making a general appearance before challenging personal

       jurisdiction waives the right to challenge personal jurisdiction).

¶ 19          But Father did not make a general appearance, and his actions cannot confer

       subject matter jurisdiction upon the court. His petition specifically sought to register
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       the orders under the UCCJEA and to modify custody in North Carolina. The trial

       court has subject matter jurisdiction under the UCCJEA since Mother and the

       children reside in North Carolina. And Father promptly filed a Motion to Dismiss

       Mother’s Petition to Register, raising his jurisdictional defenses, both personal and

       subject matter. The issue here is subject matter jurisdiction, which cannot be created

       by the actions of the parties. See In re T.R.P., 360 N.C. 588, 595, 636 S.E.2d 787, 793
       (2006) (“‘Jurisdiction rests upon the law and the law alone. It is never dependent upon

       the conduct of the parties.’ Subject matter jurisdiction ‘cannot be conferred upon a

       court by consent, waiver or estoppel, and therefore failure to . . . object to the

       jurisdiction is immaterial.’” (alterations in original) (citations omitted)).

¶ 20          Mother last cites to Marshall v. Marshall, 233 N.C. App. 238, 757 S.E.2d. 319
       (2014) (unpublished), which she contends “shoots down the notion of selective subject

       matter jurisdiction.” She argues that because the Florida orders address both child

       custody and child support in the same document, North Carolina must have subject

       matter jurisdiction over the entire matter and cannot have subject matter jurisdiction

       to enforce or modify just a portion of the order as to child custody. But Marshall is

       inapposite to this case, as it raised no issue of whether the registration of the support

       order was done properly and no issues regarding enforcement or modification of a

       child custody order under the UCCJEA. See Marshall, 233 N.C. App. 238, 757 S.E.2d.

       319.
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¶ 21          In Marshall, the husband and wife had entered into a marital dissolution

       agreement, which was adopted as a court order in Tennessee. Id. at 238, 757 S.E.2d

       at 321. The husband then engaged in an extended pattern of harassment against the

       wife and her former romantic partner and her husband which this Court described

       as “among the most shocking and extreme that the members of this panel have

       witnessed in the many divorce—related cases they have reviewed.” Id. at 238, 757

       S.E.2d at 323. The wife obtained domestic violence protective orders against the

       husband in North Carolina and registered the Tennessee order in North Carolina

       under UIFSA, and with no objection from the husband, it was registered pursuant to

       North Carolina General Statute § 52C-6-601, 606 (2013). Marshall, 233 N.C. App.

       238, 757 S.E.2d at 322.

¶ 22         Here, the issue is whether Mother’s Petition to Register the three Florida

       orders under UIFSA was proper; this case presents no issue of modification or

       enforcement of the Florida orders, just registration. In addition, Marshall did not

       address any issues of child custody or child support; the support obligations the wife

       sought to enforce involved “monetary support” the husband was ordered to pay to the

       wife under the properly registered Tennessee order. Id. at 238, 757 S.E.2d at 324-25.

¶ 23         Mother’s argument focuses on two sentences, taken out of context, from

       Marshall:
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                    Defendant cites no authority for the startling proposition
                    that a court might have subject matter jurisdiction over
                    certain paragraphs and provisions of a foreign support
                    order which has been properly registered and confirmed
                    under UIFSA, but lack jurisdiction over other paragraphs
                    and provisions. Nothing in UIFSA even suggests that a
                    properly registered and confirmed foreign support order
                    may only be enforced in part by our State’s district courts.

       Id. at 238, 757 S.E.2d at 324.

¶ 24         In Marshall, the Court had already noted that the Tennessee order had been

       properly registered under North Carolina General Statute § 52C-6-606 when the

       husband failed to contest registration. Id. at 238, 757 S.E.2d at 324. In context, the

       Court was noting that North Carolina had jurisdiction to enforce all of the “monetary

       support” provisions of the foreign support order after it was properly registered. Id.

       at 238, 757 S.E.2d at 324. There was no issue in Marshall involving registration or

       modification of a child custody order.

¶ 25         Here, Mother’s arguments overlook the essential differences in registration of

       foreign orders under the UCCJEA and UIFSA. For purposes of child custody, the

       focus is on the residence of the children, and personal jurisdiction over a parent is not

       required. See N.C. Gen. Stat. § 50A-305. For purposes of child support modification

       and enforcement, the focus is on the residence of the obligor, since the obligee who is

       seeking enforcement normally registers the order in the state of the obligor’s

       residence so the court will have personal jurisdiction over the obligor. See N.C. Gen.
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Stat. § 52C-6-611 (2019). The Comments to North Carolina General Statute § 52C-

6-611 specifically address this relationship between the UCCJEA and the UIFSA:

                   UIFSA Relationship to UCCJEA. Jurisdiction
            for modification of child support under subsections (a)(1)
            and (a)(2) is distinct from modification of custody under the
            federal Parental Kidnapping Prevention Act (PKPA), 42
            U.S.C. § 1738A, and the Uniform Child Custody
            Jurisdiction and Enforcement Act (UCCJEA) §§ 201-202.
            These acts provide that the court of exclusive, continuing
            jurisdiction may “decline jurisdiction.”            Declining
            jurisdiction, thereby creating a potential vacuum, is not
            authorized under UIFSA. Once a controlling child-support
            order is established under UIFSA, at all times thereafter
            there is an existing order in effect to be enforced. Even if
            the issuing tribunal no longer has continuing, exclusive
            jurisdiction, its order remains fully enforceable until a
            tribunal with modification jurisdiction issues a new order
            in conformance with this article.
                   UIFSA and UCCJEA seek a world in which there is
            but one order at a time for child support and custody and
            visitation. Both have similar restrictions on the ability of
            a tribunal to modify the existing order. The major
            difference between the two acts is that the basic
            jurisdictional nexus of each is founded on different
            considerations. UIFSA has its focus on the personal
            jurisdiction necessary to bind the obligor to payment of a
            child-support order. UCCJEA places its focus on the
            factual circumstances of the child, primarily the “home
            state” of the child; personal jurisdiction to bind a party to
            the custody decree is not required. An example of the
            disparate consequences of this difference is the fact that a
            return to the decree state does not reestablish continuing,
            exclusive jurisdiction under the UCCJEA. See UCCJEA §
            202. Under similar facts UIFSA grants the issuing
            tribunal continuing, exclusive jurisdiction to modify its
            child-support order if, at the time the proceeding is filed,
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                    the issuing tribunal “is the residence” of one of the
                    individual parties or the child. See Section 205.

       N.C. Gen. Stat. § 52C-6-611 Official Comment.

¶ 26         Here, Mother’s Petition to Register the three Florida orders was in both form

       and substance a petition for registration under the UCCJEA. Even if we assume

       Mother also sought registration of the orders under UIFSA, the Petition to Register

       did not substantially comply with the requirements of North Carolina General

       Statute § 52C-6-602, and Father promptly filed a Motion to Dismiss with respect to

       claims under UIFSA. The trial court correctly concluded that Mother’s Petition to

       Register the orders under UIFSA for purposes of child support modification or

       enforcement must be dismissed under North Carolina General Statute § 52C-6-602

       and Rules 12(b)(1) for lack of subject matter jurisdiction. See In re T.R.P., 360 N.C.

       588, 590, 636 S.E.2d 787, 790 (2006) (“Where jurisdiction is statutory and the

       Legislature requires the Court to exercise its jurisdiction in a certain manner, to

       follow a certain procedure, or otherwise subjects the Court to certain limitations, an

       act of the Court beyond these limits is in excess of its jurisdiction.” (quoting Eudy v.

       Eudy, 288 N.C. 71, 75, 215 S.E.2d 782, 785 (1975), overruled on other grounds by

       Quick v. Quick, 305 N.C. 446, 290 S.E.2d 653 (1982))).

                                         V.      Conclusion
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¶ 27         Because Mother’s Petition to Register was in substance and in form a petition

       to register a foreign custody order under North Carolina General Statute § 50A-305,

       not a petition to register a foreign child support order, the trial court did not err by

       granting Father’s Motion to Dismiss as to child support for failing to state a claim

       upon which relief can be granted and for lack of subject matter jurisdiction. N.C. R.

       Civ. P. 12(b)(1), (6). However, the trial court noted the dismissal of Mother’s Petition

       to Register was without prejudice, and this opinion does not impair her right to file a

       new petition for registration and enforcement of the Florida child support orders in

       the appropriate jurisdiction.

             AFFIRMED.

             Judges INMAN and COLLINS concur.
